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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


BALMUCCINO, LLC, a California Limited      CASE NO. 1:24-CV-06214-KPF
Liability Company,

                   Plaintiff,

      -against-

STARBUCKS CORPORATION, a
Washington Corporation; and DOES 1
through 100, inclusive,

                  Defendants.


 DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS
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                          I.       PRELIMINARY STATEMENT

       This is the third lawsuit, in over five years, that Balmuccino, LLC (“Balmuccino”) has filed

against Starbucks Corporation (“Starbucks”) based on the same alleged misconduct: that Starbucks

purportedly stole Balmuccino’s concept for a coffee-flavored lip balm. Balmuccino alleges that in

October 2017, Balmuccino and Starbucks representatives met for a pitch meeting, lasting

approximately one hour, for Balmuccino’s lip balm product. Shortly after, the Starbucks

representative that met with Balmuccino left Starbucks, and the parties had no further contact. In

April 2019, Starbucks launched a promotional kit (the “Sip Kit”) of four s’mores flavored lip

glosses (not lip balms). Starbucks submitted evidence in prior litigation that a Starbucks team in

Seattle developed the Sip Kit concept; that team had never heard of Balmuccino; and Starbucks

gave away Sip Kits as part of a larger prize package to only ten winners of a four-day promotion;

and that Starbucks never sold the Sip Kit to anyone.

       Balmuccino initially filed suit against Starbucks in California in October 2019. When the

California trial court dismissed Balmuccino’s claims for lack of personal jurisdiction, Balmuccino

decided that, rather than refile in the proper forum, it would wait more than two years while it

appealed the trial court’s decision. In August 2022, the California appellate court affirmed the

decision, and in October 2022, Balmuccino refiled its lawsuit in the Western District of

Washington. By that time, however, the three-year statute of limitations on all of Balmuccino’s

claims had run, and the district court dismissed Balmuccino’s complaint as time-barred. In

September 2024, the Ninth Circuit affirmed. Now, Balmuccino seeks to try its luck for the third

time in this Court. Balmuccino’s Complaint is defective for numerous independent reasons, both

procedural and substantive, and should be dismissed with prejudice.




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       First, this Court lacks personal jurisdiction over Starbucks. There is no general personal

jurisdiction because Starbucks, a Washington corporation, is not “at home” in New York. There is

no specific personal jurisdiction over Balmuccino’s trade secret misappropriation claims because

the New York meeting was an exploratory meeting that does not rise to the level of “transacting

business” in New York, and any alleged misappropriation occurred after the meeting and outside

of New York. There is no specific personal jurisdiction over Balmuccino’s contract and breach of

confidence claims because Balmuccino fails to allege the New York meeting plausibly formed a

contract or confidential relationship, and therefore there are no forum ties to these causes of action.

       Second, Balmuccino’s claims are barred by res judicata and collateral estoppel. The law

of the state that rendered the original judgment, Washington, applies to this analysis. Under

Washington law, a dismissal based on statute of limitations is a judgment on the merits and has

res judicata effect, thereby barring this identical action. Further, collateral estoppel precludes

relitigation of the Western District of Washington and Ninth Circuit’s prior determination that

Washington law applies to Balmuccino’s claims, and those claims are time-barred.

       Third, even if this Court did not find Balmuccino’s claims precluded, and undertook an

independent conflict of law analysis, it would still reach the same conclusion that Balmuccino’s

claims are time-barred. Applying New York conflict of law principles, Washington law applies to

Balmuccino’s contract claims because there is an actual conflict between New York and

Washington law (New York has a longer statute of limitations), and Washington is the “center of

gravity” for the contract claims. Starbucks is domiciled in Washington, and performance of any

purported contract (i.e., the development and creation of the lip balm) would occur in Washington.

Under Washington law, Balmuccino’s contract claims are time-barred. Next, there is no need to

perform a conflict of law analysis on Balmuccino’s remaining claims because under any of the




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potentially applicable laws, the relevant statute of limitations is three years and equitable tolling is

not available. Like Washington, New York does not permit equitable tolling of state law claims

absent a showing of bad faith by the defendant. Moreover, Balmuccino is not entitled to equitable

tolling of its federal trade secret claim based on the theory that it filed in the wrong forum because

Balmuccino asserted this claim for the first time in the Western District of Washington.

        Fourth, Balmuccino fails to state any claim upon which relief can be granted. Balmuccino

fails to plausibly allege the parties formed either a contract or a confidential relationship based on

the short pitch meeting. Balmuccino also fails to allege it owned a trade secret, that Starbucks used

the trade secret to create its entirely different lip gloss product, or that Starbucks did so through

improper means.

                               II.         FACTUAL BACKGROUND

A.      Balmuccino’s Factual Allegations 1

        According to the Complaint, Balmuccino is a California limited liability company doing

business in Los Angeles, California. Compl. ¶ 3. Starbucks is a Washington corporation “which

does business in California, and which has a regional office in New York, where the Plaintiff

suffered injury.” Id.

        In approximately 2016, Balmuccino began developing a line of coffee-flavored lip balms.

Id. ¶ 8. One of Balmuccino’s managing members is Samantha Lemole, sister-in law to Mehmet

Cengiz Öz, professionally known as “Dr. Öz.” Id. ¶ 10. In 2017, Ms. Lemole informed Dr. Öz that

Balmuccino was searching for a partner to manufacture and sell its coffee-flavored lip-balm

product. Id. ¶ 11. Dr. Öz contacted Howard Schultz, then-CEO of Starbucks, regarding the product.




1
 Although Starbucks denies many of Balmuccino’s allegations, it assumes them as true solely for purposes of this
motion to dismiss.


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Id. ¶ 12. Mr. Schultz instructed Dr. Öz to have Ms. Lemole reach out directly to the then-Head of

Product Development and Senior Vice President of Starbucks, Mesh Gelman. Id. ¶ 13.

       On or about October 19, 2017, Ms. Lemole and other Balmuccino representatives met with

Mr. Gelman and his assistant at the New York corporate offices of Starbucks for a pitch meeting.

Id. ¶ 14. During this meeting, Balmuccino presented a pitch deck along with prototypes of

Balmuccino’s product, “designed specifically for [Starbucks].” Id. ¶ 15. Balmuccino asked Mr.

Gelman to sign a nondisclosure agreement, but Mr. Gelman “deflected,” stating the meeting was

“entirely confidential” and the relationship between Mr. Schultz and Dr. Öz “should afford

[Balmuccino] the necessary comfort and protections [Balmuccino] was seeking” via the non-

disclosure agreement. Id. ¶ 16. The pitch meeting lasted “over an hour.” Id. ¶ 17. During the

meeting, Mr. Gelman and the Balmuccino representatives discussed topics including

Balmuccino’s “concepts and products,” “the creation process of lip balms,” “the different flavor

possibilities,” and Balmuccino’s suppliers and manufacturers. Id. ¶¶ 17–18. At the end of the

meeting, Mr. Gelman asked to “hold on” to the pitch deck so he could run the idea “up the

flagpole.” Id. ¶ 20. The Complaint alleges no further contact with New York.

       Two weeks later, Mr. Gelman emailed Ms. Lemole to inform her he was leaving Starbucks.

Id. ¶ 21. He did not discuss the status of the Balmuccino product pitch in his email. Id. The

Complaint does not allege Balmuccino and Starbucks had any further discussions.

       At some point in 2018, Balmuccino learned that Starbucks had reached out to one of

Balmuccino’s suppliers to inquire about prototypes for Starbucks-branded, coffee-flavored lip

balms. Id. ¶¶ 22–23. Balmuccino was “informed that the specifications the potential manufacturer

had received for these prototypes matched those [Balmuccino] had given Mr. Gelman during the

October 19, 2017 Meeting.” Id. ¶ 23.




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        In April 2019, Starbucks announced the launch of the S’mores Frappuccino Sip Kit (“Sip

Kit”), a promotional item created to celebrate the return of the Starbucks S’mores Frappuccino. Id.

¶ 24. The Sip Kit included four S’mores-flavored lip glosses. Id. This “promotion reached

California where nearly ten percent of Starbucks’s retail stores are sited and where the Balmuccino

team resided and operated.” Id. ¶ 25. The Complaint does not allege that the Sip Kit was created,

developed, fabricated, launched, or even distributed in New York. According to Balmuccino,

Starbucks “stole” Balmuccino’s lip balm product when it “began to manufacture and promote [the

Sip Kit] to help drive sales, but without compensating [Balmuccino].” Id. ¶ 26.

B.      Procedural History

     1. The California Litigation

        On October 18, 2019, Balmuccino brought contract, breach of confidence, trade secret

misappropriation claims against Starbucks in California state court. Declaration of Joanna Diakos

in Support of Motion (“Diakos Decl.”) Ex. 1. On December 10, 2019, Starbucks moved to quash

service of the summons for lack of personal jurisdiction. Id. Ex. 2. In support of its motion to

quash, Starbucks submitted evidence related to the development of the Sip Kit at the center of

Balmuccino’s claims. Id. Exs 3, 4. This evidence showed that Starbucks has been headquartered

in Seattle, Washington, since its founding in 1997. Id. Ex. 3 ¶ 3. Product development, marketing,

finance, and other departments are all located at the company’s Seattle headquarters. Id.

        The evidence also showed that Starbucks developed the Sip Kit as a promotional product

offered as a prize to winners of a social media contest. Id. Ex. 4 ¶ 3. The Sip Kit concept was

developed by the Starbucks marketing team located in Seattle. Id. The concept was not based on

any information allegedly provided by Balmuccino to Starbucks, as the Starbucks marketing

manager responsible for the promotion was not even aware of Balmuccino or the alleged meeting




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in New York. Id. The contest lasted four days (from April 30, 2019, to May 3, 2019), and only ten

contest winners received a prize package: the Sip Kit, other merchandise, and a Starbucks gift card.

Id. Starbucks never sold the Sip Kit, either in New York or anywhere else. Id.

         In its response, Balmuccino argued that California had personal jurisdiction over

Starbucks. Id. Ex. 5. It did not at any point suggest New York may have personal jurisdiction over

Starbucks. See id. Indeed, Balmuccino’s brief expressly argued that “California residents suffered

the brunt of the harm and were the focal point of Defendant’s wrong-doing, even though the pitch

meeting took place in New York.” Id. at 10 (emphasis added).

         On July 17, 2020, the California trial court dismissed Balmuccino’s lawsuit for lack of

personal jurisdiction. Id. Ex. 6. Balmuccino appealed. Balmuccino, LLC v. Starbucks Corp., 2022

WL 3643062 (Cal. App. 2d Dist. Aug. 24, 2022). Two years later, on August 24, 2022, the

California Court of Appeal affirmed the dismissal, concluding California did not have personal

jurisdiction over Starbucks because the “Sip Kit lip glosses, as well as the entire promotional

campaign, were created, developed, and launched in Washington, not California.” Id., at *5.

    2. The Washington Litigation

         More than two years after the California trial court concluded it lacked personal jurisdiction

over Starbucks, and two months after the California appellate court affirmed that decision, on

October 21, 2022, Balmuccino initiated a second action against Starbucks in the U.S. District Court

for the Western District of Washington, invoking the court’s diversity jurisdiction. Diakos Decl.

Ex. 7 ¶ 3. By that time, the 3-year statute of limitations applicable to Balmuccino’s claims had

expired. 2 Moreover, Balmuccino had allowed its LLC status to become inactive. Id. Ex. 9 at 5. On



2
 See Balmuccino, 2023 WL 4761447, at *7 (“It is uncontested that all of Balmuccino’s causes of action have a three-
year statute of limitations period. . . . It is also uncontested that Balmuccino filed suit in this Court more than three
years after learning of” the alleged trade secret misappropriation by Starbucks).


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January 20, 2023, Starbucks filed its first motion to dismiss, arguing Balmuccino lacked capacity

to sue because its LLC status was inactive, and because its claims were time-barred. Id. Ex. 8.

Instead of filing a response, Balmuccino filed an amended complaint, without leave from the court,

after the deadline to amend the complaint as a matter of right had passed. Id. Ex. 10 at 1. On

February 21, 2023, the district court granted the motion to dismiss by Starbucks and struck

Balmuccino’s untimely amended complaint, but granted Balmuccino leave to amend. Id. at 1–2.

       Balmuccino filed an amended complaint alleging substantially the same claims as in the

prior California litigation, except adding for the first time a claim under the federal Defend Trade

Secrets Act (“DTSA”). Id. Ex. 12 at ¶¶ 59–63. Starbucks again moved to dismiss Balmuccino’s

claims as time-barred under Washington law. Id. Ex. 12. In its response, Balmuccino argued that

California law applied to its claims. Id. Ex. 13 at 7–12. On July 26, 2023, the Washington district

court granted the motion to dismiss by Starbucks, conducting a conflict of law analysis and holding

that Washington law applied to Balmuccino’s claims, and its claims were time-barred.

Balmuccino, LLC v. Starbucks Corp., 2023 WL 4761447 (W.D. Wash. Jul. 26, 2023). The Ninth

Circuit affirmed the decision in its entirety. Balmuccino, LLC v. Starbucks Corp., 2024 WL

4262805 (9th Cir. Sept. 23, 2024).

                              III.       LEGAL STANDARD

       “Where a Court is asked to rule on a combination of Rule 12 defenses, it will pass on the

jurisdictional issues before considering whether a claim is stated in the complaint.” Koulkina v.

City of New York, 559 F. Supp. 2d 300, 310 (S.D.N.Y. 2008) (citation omitted). On a motion to

dismiss for lack of personal jurisdiction, the “plaintiff bears the burden of demonstrating that the

court has personal jurisdiction over each defendant.” Friedman v. Bloomberg, 884 F.3d 83, 90 (2d

Cir. 2017). To meet its burden, the plaintiff must “make a prima facie showing that jurisdiction




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exists.” Oklahoma Firefighters Pension & Ret. Sys. v. Banco Santander (Mexico) S.A. Institución

De Banca Múltiple, 92 F.4th 450, 456 (2d Cir. 2024). “Such a showing entails making legally

sufficient allegations of jurisdiction, including an averment of facts that, if credited, would suffice

to establish jurisdiction over the defendant.” Id. (citation and alterations omitted).

        “Issues of res judicata and collateral estoppel may be decided on a motion to dismiss.”

Peralta v. St. Lukes Roosevelt Hosp., 2015 WL 3947641, at *3 (S.D.N.Y. Jun. 26, 2015) (citing

Cameron v. Church, 253 F. Supp. 2d 611, 617–24 (S.D.N.Y. 2003)). Dismissal is appropriate if

“it is clear from the face of the complaint, and matters of which the court may take judicial notice,

that the plaintiff’s claims are barred as a matter of law.” Conopco, Inc. v. Roll Int’l, 231 F.3d 82,

86 (2d Cir. 2000).

        Finally, to survive a motion to dismiss for failure to state a claim, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). The complaint must “raise a right to relief above the speculative level.” Twombly, 550

U.S. at 555. Although courts must accept factual allegations as true and make reasonable

inferences in the plaintiff’s favor, it need not accept mere “labels and conclusions,” or “naked

assertions devoid of further factual enhancement.” Iqbal, 556 U.S. at 678 (quoting Twombly).

                                    IV.         ARGUMENT

A.      The Court lacks personal jurisdiction over Starbucks.

        District courts deciding a motion to dismiss for lack of personal jurisdiction engage in a

two-part analysis. Bohn v. Bartels, 620 F. Supp. 2d 418, 424 (S.D.N.Y. 2007). First, a “district

court sitting in diversity applies the forum state’s law to determine whether it has personal

jurisdiction over a defendant.” Id. Second, “[i]f the forum state’s law allows the exercise of




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personal jurisdiction, then the Court must determine whether doing so comports with due process

guarantees of the United States Constitution.” Id.

       “New York law provides for both general and specific personal jurisdiction.” Id. at 425

(citing CPLR §§ 301–302). General jurisdiction “allows a court to adjudicate any cause of action

against the defendant, regardless of where it arose.” Al-Ahmed v. Twitter, Inc., 553 F. Supp. 3d

118, 124–25 (S.D.N.Y. 2021). Specific jurisdiction “is available when the cause of action sued

upon arises out of the defendant’s activities in a state.” Id. at 125. Courts “examine the issue of

personal jurisdiction separately for each cause of action asserted by the complaint[.]” S.L. Kaye

Co., Inc. v. Dulces Anahuac, S.A., 524 F. Supp. 17, 20 (S.D.N.Y. 1981).

       1.      Starbucks is not subject to general personal jurisdiction in New York.

       A court “may exercise general jurisdiction over an out-of-state defendant if the defendant

engages in continuous, permanent, and substantial activity in New York.” Al-Ahmed, 553 F. Supp.

3d at 125 (quoting Wiwa v. Royal Dutch Petroleum Co., 226 F.3d 88, 95 (2d Cir. 2000)) (internal

quotes omitted). “An out-of-state corporation is subject to general jurisdiction in a state ‘only

where its contacts are so ‘continuous and systematic,’ judged against the corporation’s national

and global activities, that it is ‘essentially at home’ in that state.” Id. at 125 (quoting Gucci Am.,

Inc. v. Weixing Li, 768 F.3d 122, 135 (2d Cir. 2014)). “Other than in ‘exceptional case[s],’ a

corporation is ‘at home’ only in its state of incorporation and in the state of its principal place of

business.’” Id. (quoting Gucci Am., 768 F.3d at 135). “Because a corporation that operates in many

states or countries can scarcely be deemed at home in all of them, ‘when a corporation is neither

incorporated nor maintains its principal place of business in a state, mere contacts, no matter how

systematic and continuous, are extraordinarily unlikely to add up to an exceptional case.” Id.

(quoting Brown v. Lockheed Martin Corp., 814 F.3d 619, 629 (2d Cir. 2016)).




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       Balmuccino cannot meet this high standard. Starbucks is a Washington corporation.

Compl. ¶ 4. Balmuccino’s sole allegation relating to general personal jurisdiction is that Starbucks

“has a regional office in New York.” Id. This falls woefully short of the kind of contacts that would

render a corporation “essentially at home” in New York. See Al-Ahmed, 553 F. Supp. 3d at 125

(“simply having a large office . . . in a forum is not enough to establish general jurisdiction.”).

Indeed, it is telling that in the California litigation, Balmuccino never argued that Starbucks is

subject to general personal jurisdiction outside of Washington. See Balmuccino, 2022 WL

3643062, at *2 (“It is undisputed Starbucks is a Washington corporation and Balmuccino does not

contend that Starbucks is subject to general jurisdiction in California.”).

   2. Starbucks is not subject to specific personal jurisdiction in New York.

       Under CPLR § 302(a), a court may exercise specific personal jurisdiction over an out-of-

state defendant as to causes of action arising: (1) “transact[ing] any business within the state”; (2)

“commit[ting] a tortious act within the state; or (3) “commit[ting] a tortious act without the state

causing injury to person or property within the state,” where certain additional forum contact

requirements are met. Here, Balmuccino’s sole basis for asserting specific personal jurisdiction is

a single meeting, lasting approximately one hour, that occurred between Balmuccino and

Starbucks representatives in New York. See Compl. ¶¶ 14–20. This meeting is insufficient to

establish specific personal jurisdiction over Starbucks for any of Balmuccino’s claims.

               a. There is no specific personal jurisdiction over Balmuccino’s trade secret
                  misappropriation claims.

       There is no specific personal jurisdiction over Balmuccino’s trade secret misappropriation

claims (Counts 4–6). The brief pitch meeting in New York was an exploratory meeting that does

not rise to the level of “transacting business” under CPLR § 302(a)(1). Moreover, the alleged acts

of misappropriation—the creation, development, and launch of the Sip Kit—did not take place in



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New York and therefore cannot satisfy the “arising under” prong of CPLR § 302(a)(1), or the

“tortious act within the state” requirement of CPLR § 302(a)(2). Finally, there are no plausible

allegations that Starbucks caused an injury in New York under CPLR § 302(a)(3).

                       i.      CPLR § 302(a)(1): transacting business within the state.

       “To determine the existence of jurisdiction under section 302(a)(1), a court must decide (1)

whether the defendant ‘transacts any business’ in New York and, if so, (2) whether [the] cause of

action ‘arises from’ such a business transaction.” V Cars, LLC v. Israel Corp., 902 F. Supp. 2d

349, 360 (S.D.N.Y. 2012).

       As to prong one, “exploratory meetings taking place in New York, ‘leading to nothing

more than a proposal that was itself the subject of further negotiations over the phone, by mail,

and in meetings outside New York,’ are not sufficient contacts to constitute the transaction of

business within the meaning of CPLR 302(a).” V Cars, 902 F. Supp. 2d at 361 (citation omitted).

V Cars is instructive. There, the plaintiff’s and defendant’s representatives met in New York on

two separate occasions to discuss a possible joint business venture. Id. at 361–62. At both

meetings, neither of defendant’s representatives “promised anything” to plaintiff, “nor did the

parties negotiate any agreement during those meetings.” Id. Instead, the plaintiff “made

presentations . . . about their business plans, and [the defendant’s representatives] expressed

interest in further discussions.” Id. The court held these contacts were insufficient to establish the

defendant transacted business in New York. Id. The same is true here.

       As to prong two, a claim arises out of a party’s forum activities only if “there is an

articulable nexus, or a substantial relationship, between the claim asserted and the actions that

occurred in New York.” Id. at 360 (citation omitted). For claims of trade secret misappropriation,

this “arises from” prong is not met if the alleged misappropriation occurred outside of New York.




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For example, in BGC Partners, Inc. v. Avison Young (Canada) Inc., 46 Misc. 3d 1202, 2014 WL

7201754, at *5 (Sup. Ct. N.Y. 2014), the court held even if negotiations occurred in New York, it

did not have specific personal jurisdiction over plaintiff’s trade secret misappropriation claims

because the alleged misappropriation took place where the defendants resided, outside New York.

        Here, there is no basis to exercise personal jurisdiction over Starbucks under CPLR §

302(a)(1). First, the New York meeting is precisely the type of “exploratory meeting” that does

not constitute transacting business in New York. As Balmuccino admits, the meeting was a “pitch

meeting” that ended in Starbucks suggesting it will “explore the possibility of a partnership or joint

venture moving forward.” Compl. ¶¶ 14, 20. Like the meeting in V Car, it does not rise to the level

of transacting business because it led—at most—to nothing more than a proposal subject to further

negotiation. Second, Balmuccino’s trade secret misappropriation claims do not arise from the New

York meeting. Balmuccino alleges that a year after the New York meeting, it learned Starbucks

contacted Balmuccino’s suppliers, and Starbucks later announced the launch of the Sip Kit. Id. ¶¶

22–24. Balmuccino does not allege these acts, which give rise to its trade secret misappropriation

claims, occurred in New York. 3 Like in BGC Partners, these alleged subsequent acts, which are

the subject of Balmuccino’s trade secret misappropriation claims, cannot satisfy the “arises from”

prong of CPLR § 302(a)(1).

                          ii.      CPLR § 302(a)(2): tortious act within the state.

        For the same reason, Balmuccino fails to allege Starbucks committed any tortious act

within New York. “Misappropriation is deemed to occur where the merchandise at issue is

manufactured.” Acoustical Design, Inc. v. Control Elecs. Co., 1987 WL 8066, at *3 n.7 (E.D.N.Y.



3
  Nor could Balmuccino make such allegation. Starbucks previously submitted evidence in the California litigation
that the Sip Kit concept was developed by the Starbucks marketing team located in Seattle, Washington. Diakos Decl.
Ex. 4 ¶ 3.


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Feb. 24, 1987). Here too, V Cars is instructive. There, the court held it did not have personal

jurisdiction over claims that defendant “misappropriated confidential and proprietary trade secret

information disclosed to [defendant’s representatives] at the New York meetings” because any

alleged misappropriation “was not committed in New York but rather in China, where the trade

secret information was allegedly used[.]” 902 F. Supp. 2d at 365. Here, again, any alleged

misappropriation occurred after the meeting in New York, in connection with the development

and launch of the Sip Kit in Washington. Compl. ¶¶ 22–24. Balmuccino does not and cannot allege

that these acts occurred in New York.

                       iii.    CPLR § 302(a)(2): tortious act within the state.

       Finally, there is no personal jurisdiction under CPLR § 302(a)(3) because Starbucks did

not “commit[] a tortious act without the state causing injury to person or property within the state.”

Other than conclusory allegations that need not be accepted as true (see Compl. ¶ 4), the Complaint

is devoid of any allegations suggesting the alleged trade secret misappropriation caused

Balmuccino to suffer an injury in New York. Indeed, aside from the initial pitch meeting, the

Complaint makes no other factual allegations involving New York.

               b.      There is no specific personal jurisdiction over Balmuccino’s breach of
                       contract and breach of confidence claims.

       There is also no specific personal jurisdiction over Balmuccino’s breach of contract or

breach of confidence claims (Counts 1–3) because Balmuccino fails to allege the formation of a

contract or confidential relationship in New York. While substantial negotiation or execution of a

contract in New York may constitute transacting business under CPLR § 302(a)(1), there can be

no specific personal jurisdiction unless the Complaint plausibly alleges that such acts actually took

place. See Allianz Glob. Invs. GmbH v. Bank of Am. Corp., 457 F. Supp. 3d 401, 407 (S.D.N.Y.

2000) (“Conclusory non-fact-specific jurisdictional allegations or legal conclusions couched as a



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factual allegation will not establish a prima facie showing of jurisdiction”) (quoting DeLorenzo v.

Viceroy Hotel Grp., LLC, 757 F. App’x 6, 8 (2d Cir. 2018)) (internal quotes and alterations

omitted); Mercator Corp. v. Windhorst, 159 F. Supp. 3d 463, 472 (S.D.N.Y. 2016) (“Because the

plaintiff has not sufficiently alleged a contract with these defendants, there is no personal

jurisdiction over these defendants.”).

       To establish the existence of a contract, a plaintiff must “allege sufficient facts to establish

‘an offer, acceptance of the offer, consideration, mutual assent, and intent to be bound.” Jinno Int’l

Co. v. Premier Fabrics, Inc., 2013 WL 4780049, at *2 (S.D.N.Y. May 24, 2013). Further, “for a

contract to be valid, the agreement between the parties must be definite and explicit so their

intention may be ascertained to a reasonable degree of certainty.” Foros Advisors LLC v. Digital

Globe, Inc., 333 F. Supp. 3d 354, 360 (S.D.N.Y. 2018). To plead a claim for breach of contract,

the plaintiff must “identify the essential terms of the contract, including a specific provision of the

contract that was breached.” Clemmons v. Upfield US Inc., 667 F. Supp. 3d 5, 19 (S.D.N.Y. 2023).

       “For a breach of confidence claim to be established, plaintiff must show that the parties

either stood in a relationship imposing a duty of trust or confidentiality, or that they entered into

an agreement establishing such a confidential relationship.” HC2, Inc. v. Delaney, 510 F. Supp. 3d

86, 101 (S.D.N.Y. 2020). Under New York law, “a confidential relationship is synonymous with

fiduciary relationship and exists generally where the parties do not deal on equal terms and one

trusts and relies on the other.” Boston Tea Co., LLC v. Bay Valley Foods, LLC, 2019 WL 4747395,

at *2 (S.D.N.Y. Sept. 27, 2019) (quotes and alterations omitted). To state a claim, the plaintiff

“must allege the creation of a confidential relationship and that the defendant, in fact, accepted

that relationship.” HC2, 510 F. Supp. 3d at 101.




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       Balmuccino cannot establish specific personal jurisdiction over Starbucks because it does

not plausibly allege the New York meeting gave rise to its breach of contract and breach of

confidence claims. Aside from conclusory allegations, nothing in the Complaint can reasonably

be construed as an offer, acceptance, consideration, mutual assent, and intent to form an agreement

between the parties. There are no allegations that the parties even discussed entering a binding

agreement. Indeed, the Complaint makes clear that Starbucks expressly declined to enter a non-

disclosure agreement with Balmuccino. See Compl. ¶ 16 (Balmuccino asked Mr. Gelman to enter

a non-disclosure agreement but Mr. Gelman “deflected”). At the end of the meeting, Mr. Gelman’s

comment regarding “explor[ing] the possibility of a partnership or joint venture moving forward”

makes clear there was no mutual assent to enter a contractual relationship. Id. ¶ 20 (emphasis

added). Moreover, there are no allegations about the terms about any purported agreement. For

example, Balmuccino alleges “it was understood and otherwise implied that if Defendant used

Plaintiff’s ideas and concepts associated with the coffee-flavored lip balms, Plaintiff would be duly

compensated and given proper credit.” Compl. ¶ 47. These allegations fail to establish the most

basic terms of any purported agreement, such as the agreement’s duration, how Balmuccino would

be compensated, or how it would be “given proper credit.”

       Similarly, Balmuccino does not plausibly allege the formation of a confidential

relationship. A single short arms-length meeting between two business entities cannot plausibly

form a confidential relationship. While Balmuccino alleges Mr. Gelman stated the meeting would

be confidential, this alone cannot establish a confidential relationship akin to a fiduciary

relationship. Thus, no act occurring in New York is sufficiently connected to a viable claim for

breach of contract or breach of confidence to establish personal jurisdiction over Starbucks.




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       3.      Exercise of personal jurisdiction over Starbucks does not comport with due
               process.

       Because Starbucks is not subject to personal jurisdiction under New York law, the Court

“need not evaluate jurisdiction under due process guarantees of the United States Constitution.”

Bohn, 620 F. Supp. 2d at 426. Starbucks will nevertheless briefly address those factors for the sake

of completeness. To determine whether the exercise of personal jurisdiction is reasonable, courts

consider the following factors: (1) the burden on the defendant of defending suit in a foreign

jurisdiction; (2) the forum's interest in adjudicating the dispute; (3) the plaintiff's interest in

convenient and effective relief; (4) the interstate judicial system's interest in obtaining the most

efficient resolution of controversies; and (5) the shared interest of the several states in furthering

fundamental, substantive social policies. Burger King Corp. v. Rudzewicz, 471 U.S. 462, 477

(1985). Of these factors, the burden on the defendant is the “primary concern.” Bristol-Meyers

Squibb Co. v. Superior Court, 582 U.S. 255, 256 (2017).

       Starbucks is located in Washington. Many of its prospective witnesses, including the team

that developed the Sip Kit at issue in this case, are located in Washington. See Diakos Decl. Ex. 3

¶ 3; id. Ex. 4 ¶ 3. It would be unduly burdensome to force Starbucks to litigate this case in New

York. In addition, neither party is a resident of New York. The sole connection to New York is a

single pitch meeting that did not result in any ongoing business relationship. New York therefore

has no interest in resolving this dispute between non-resident parties with minimal connections to

the state. Finally, as discussed in more detail below, any interest in efficient resolution of

controversies or social policies favor dismissal of this case. This case has already been resolved

by the Western District of Washington, and judicial economy would be ill-served by entertaining

yet another action by Balmuccino in this jurisdiction. Taken together, subjecting Starbucks to

personal jurisdiction in New York does not comport with due process.



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        4.      Balmuccino is not entitled to jurisdictional discovery.

        When a plaintiff fails to make a prima facie case for jurisdiction, a district court does not

err by denying jurisdictional discovery. See Donner v. DER SPIEGEL Gmbh & Co., -- F. Supp.

3d --, 2024 WL 4035215, at *9 (S.D.N.Y. Sept. 4, 2024); Best Van Lines, Inc. v. Walker, 490 F.3d

239, 255 (2d Cir. 2007). The Court should decline to order jurisdictional discovery because nothing

suggests discovery could lead to information likely to establish personal jurisdiction over

Starbucks. Balmuccino alleges no facts suggesting Starbucks is “at home” in New York.

Moreover, in the prior California litigation, Starbucks submitted evidence that the Sip Kit concept

was developed by the Starbucks marketing team located in Seattle, and that team did not

misappropriate Balmuccino’s concept. Diakos Decl. Ex. 4 ¶ 3.

B.      Balmuccino’s Complaint is precluded by res judicata and collateral estoppel.

        1.      Washington law applies to the res judicata and collateral estoppel analysis.

        In Semtek Int’l, Inc. v. Lockheed Martin Corp., 531 U.S. 497 (2001), the Supreme Court

established that the “preclusive effect of a judgment rendered by a federal court sitting in diversity

. . . is determined by the law of the state in which the rendering court sat.” Phoenix Light SF Ltd.

v. Bank of New York Mellon, 66 F.4th 365, 371 (2d Cir. 2023) (citing Semtek, 531 U.S. at 508);

see also Stinnett v. Delta Air Lines, Inc., 803 Fed. App’x 505, 508, n.3 (2d Cir. 2020) (same); In

re Mirena IUD Prods. Liab. Litig., 2015 WL 5037100, at *4 (S.D.N.Y. Aug. 26, 2015) (“The rule

ultimately prescribed by Semtek . . . is that the second court’s determination of the preclusive effect

of a federal diversity court’s judgment requires application of the claim preclusion rules of the

state that provided the rules of law in the first action.”).

        In Semtek, a California federal court, sitting in diversity, dismissed plaintiff’s claim as

barred by the statute of limitations. Semtek, 531 U.S. at 499. Subsequently, a Maryland state court

dismissed a second identical lawsuit based on res judicata due to the California federal court’s


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dismissal. Id. at 500. On appeal, the issue before the Supreme Court was what law should have

applied to the Maryland state court’s res judicata analysis. Id. at 499. The Supreme Court held that

“federal common law governs the claim-preclusive effect of a dismissal by a federal court sitting

in diversity.” Id. at 508. Federal law, in turn, requires application of “the law that would be applied

by state courts in the State in which the federal diversity court sits.” Id. at 508. Thus, California

law applied because the res judicata analysis was governed by “a federal rule that in turn

incorporates California’s law of claim preclusion.” Id. at 509.

         Here, Balmuccino invoked the Washington district court’s diversity jurisdiction. Diakos

Decl. Ex. 11 ¶ 3 (Amended Compl.) (alleging diversity jurisdiction as the basis of jurisdiction).

Therefore, under Semtek, Washington law—the law of the state in which the Washington district

court sat—applies. 4

         2. This action is barred by the doctrine of res judicata.

         Res judicata ensures the finality of decisions. A final judgment on the merits bars a party

like Balmuccino from re-litigating claims that it actually raised, or could have raised, in its prior

action. Here, res judicata bars Balmuccino from bringing this third action against Starbucks

because the order by the Western District of Washington, affirmed by the Ninth Circuit,

conclusively resolved this litigation between the parties. “The doctrine of res judicata rests upon

the ground that a matter which has been litigated . . . in a former action in a court of competent

jurisdiction, should not be permitted to be litigated again.” Penner v. Cent. Puget Sound Reg’l


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  At the pre-motion conference, the Court raised the applicability of Cloverleaf Realty of N.Y., Inc. v. Town of
Wawayanda, 572 F.3d 93 (2d Cir. 2009), which held dismissal of a claim solely for lack of timeliness is not a judgment
on the merits under New York law. For the reasons discussed, Washington law applies to the res judicata and collateral
estoppel analysis, and therefore Cloverleaf in inapplicable. In any case, subsequent courts have “expressed doubt”
about Cloverleaf’s interpretation of New York law and noted “not a single New York court had followed Cloverleaf’s
lead.” Byrd v. Town of DeWitt, 698 F. Supp. 3d 379, 394–95 (N.D.N.Y. 2023). The issue of whether a dismissal for
lack of timeliness is a judgment on the merits under New York law “remains unsettled.” Id. at 395; see Webb v.
Greater N.Y. Auto Dealers Ass’n, Inc., 144 A.D.3d 1134, 1135 (2d Dep’t 2016) (“a dismissal on the ground of statute
of limitations is considered to be on the merits for res judicata purposes”);


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Transit Auth., 525 P.3d 1010, 923 (Wash. Ct. App. 2023) (citation omitted). It is intended to

“prevent piecemeal litigation and support[] the finality of judgment.” Id. at 924.

       Under Washington law, as a threshold requirement, res judicata applies only to a “valid

and final judgment on the merits in a prior suit.” Carter v. MultiCare Health Sys., 553 P.3d 98,

107 (Wash. Ct. App. 2024) (citation omitted). If this threshold requirement is met, courts will bar

subsequent actions that are identical to the prior action in “(1) subject matter; (2) cause of action;

(3) persons and parties; and (4) quality of the persons for or against whom the claim is made.” Id.

(citation omitted).

               a.      The decision by the Western District of Washington was a judgment on the
                       merits.

       Washington courts follow the federal rule that “for res judicata purposes a dismissal on

statute of limitations grounds can be treated as a dismissal on the merits.” Campbell v. Fernandez,

473 P.3d 675, at 679 n. 4 (Wash. Ct. App. 2020) (quoting In re Marino, 181 F.3d 1142, 1144 (9th

Cir. 1999)); see also Evans v. Heimann, 2022 WL 101953, at *1 (W.D. Wash. Jan. 11, 2022)

(noting under Washington law, a dismissal on statute of limitations grounds is a judgment on the

merits); Goulsby v. Waddington, 2008 WL 2996999, at *5 (W.D. Wash. Aug. 1, 2008) (“dismissal

with prejudice is equivalent to a final judgment on the merits to which res judicata principles may

apply”) (citing Washington law).

       Campbell is illustrative. There, the plaintiffs filed an original action but struggled to serve

the defendant prior to expiration of the statute of limitations. 473 P.3d at 676. Accordingly, the

plaintiffs filed a second identical “protective action” “to obtain additional time (90 days from

filing) within which to accomplish effective service.” Id. “The protective action was properly filed

and could have proceeded but for a twist.” Id. The plaintiffs did not disclose the existence of the

second protective action to the first court, and the first court dismissed the first action with



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prejudice, holding it was barred by the statute of limitations. Id. The second court then dismissed

the second protective action as barred by res judicata. Id. at 678. The appellate court affirmed the

second court’s dismissal, holding the first court’s dismissal with prejudice on statute of limitations

grounds was a judgment on the merits that had “claim-preclusive and issue-preclusive effect.” Id.

       Here, the Washington district court held Balmuccino’s claims were barred by the statute of

limitations and dismissed them with prejudice. Balmuccino, 2023 WL 4761447, at *1. The Ninth

Circuit affirmed. Balmuccino, 2024 WL 4262805, at *1. Under Washington law, the dismissal

resulted in a final judgment on the merits. Like in Campbell, it is irrelevant that Balmuccino now

files this new action that it alleges is not barred by New York’s statute of limitations and equitable

tolling principles. See Compl. ¶¶ 41–43. The prior dismissal of Balmuccino’s claims was a

judgment on the merits with claim-preclusive effect regardless of whether this action, standing

alone, could have proceeded.

       This result is consistent with res judicata’s goal of preventing piecemeal litigation and

ensuring the finality of judgments. For five years, Balmuccino has mired Starbucks in an endless

string of successive litigation. Balmuccino made the strategic choice to first file suit in California.

Then, when the California trial court dismissed Balmuccino’s claim for lack of personal

jurisdiction, Balmuccino made the strategic choice to appeal that decision rather than refile its

complaint in the proper forum. By the time the California court of appeals affirmed the trial court

decision, and Balmuccino finally decided to sue in Washington, it was too late. The Washington

district court dismissed Balmuccino’s claims as time-barred, and the Ninth Circuit affirmed.

Balmuccino, 2023 WL 4761447, at *1; Balmuccino, 2024 WL 4262805, at *1. This dismissal was

a final judgment on the merits. The law does not allow Balmuccino to continue suing Starbucks in

different forums to remedy its strategic miscalculations.




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               b.      The Washington action and this action are identical.

       All other elements of the res judicata analysis are satisfied. The Washington action and

this action involve the same subject matter: the alleged misappropriation of Balmuccino’s concept

for coffee-flavored lip balm. Compare Diakos Decl. Ex. 11 ¶¶ 6–17 with Compl. ¶¶ 8–28.

Balmuccino asserts the same causes of action for breach of contract, breach of confidence, and

trade secret misappropriation. Compare Diakos Decl. Ex. 11 ¶¶ 24–63 with Compl. ¶¶ 44–83. The

actions involve identical parties: Balmuccino and Starbucks. Compare Diakos Decl. Ex. 11 ¶¶ 1–

2 with Compl. ¶¶ 3–4. Finally, “[b]ecause the parties are identical, the quality of the persons is

also identical.” Penderson v. Potter, 11 P.3d 833, 838 (Wash. Ct. App. 2000). Thus, all res judicata

elements are satisfied and Balmuccino is barred from bringing this action.

       3. Collateral estoppel precludes relitigation of the applicable law.

       In addition, the Court should dismiss this action because collateral estoppel precludes

Balmuccino from relitigating the Washington district court and Ninth Circuit’s determinations that

Washington law applies, and Balmuccino’s claims are time-barred under Washington law.

Collateral estoppel, or issue preclusion, “prevents relitigation of an issue after the party estopped

has already had a full and fair opportunity to present its case.” Pederson v. Potter, 11 P.3d 833,

836 (Wash. Ct. App. 2000). “The requirement for application of the doctrine are: (1) the issue

decided in the prior adjudication must be identical with the one presented in the second; (2) the

prior adjudication must have ended in a final judgment on the merits; (3) the party against whom

the plea is asserted was a party or in privity with a party to the prior adjudication; and (4)

application of the doctrine must not work an injustice.” Id.

       Newmont USA Ltd. v. Am. Home Assurance Co., 2010 WL 11508326, at *3 (E.D. Wash.

Jul. 27, 2010) is instructive. In that case, a Washington federal court held that the plaintiff was




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collaterally estopped from relitigating the prior choice of law determination of a New York court.

The court reasoned that Washington and New York law require a similar conflict of law analysis,

and therefore “relitigating the issue in this forum would involve consideration of similar facts

argued and considered by the New York court.” Id. Thus, “the identical question before this court

was before the New York court” and “there is no reason why [plaintiff] should be permitted to

relitigate the same issue here on the same facts.” Id. 5

         Likewise here, Balmuccino should be precluded from relitigating the applicable choice of

law because the Western District of Washington and the Ninth Circuit, applying similar conflict

of law principles as this Court would apply, has already decided this issue. The Western District

of Washington determined that Washington law applies because “Washington . . . has the more

significant relationship to this case.” Balmuccino, 2023 WL 4761447, at *6. Specifically, as to

Balmuccino’s contract claims, the court determined that “[b]ecause the contract concerned the sale

of coffee-flavored lip balms by Starbucks, both the place of performance and the location of the

contract’s subject matter relate more to Washington.” Id. “As a Washington-based company,

Starbucks’s Washington employees would have performed the contract or breached the contract

in Washington.” Id. In reaching this conclusion, the court relied on the California court’s prior

finding that “[t]he uncontroverted evidence before us is that the Sip Kit lip glosses, as well as the

entire promotional campaign, were created, developed, and launched in Washington, not

California.” Id. (quoting Balmuccino, 2022 WL 3643062, at *5). As to Balmuccino’s tort claims,

the court found “Washington was the place where the conduct causing the injury occurred.” Id.




5
 While Newmont was decided under New York law, the conclusion is equally applicable here: Washington and New
York conflict of law rules are substantially similar and therefore relitigating the applicable law in either forum presents
an identical issue for purposes of collateral estoppel.


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The Ninth Circuit affirmed for the same reasons. See Balmuccino, 2024 WL 4262805, at *2 (“the

most significant relationship test favors applying Washington law.”).

       All elements of issue preclusion are met. Balmuccino is raising an identical issue to the

one presented in the prior litigation: the applicable choice of law. As discussed above, the prior

Washington case resulted in a final judgment on the merits. See supra Section IV.B.2.a.

Balmuccino was a party in the prior action. Finally, application of collateral estoppel will not work

an injustice. Balmuccino had a full and fair opportunity to litigate the applicable choice of law

before the Western District of Washington and the Ninth Circuit, and both courts determined

Washington law applies to this case. It is not unjust to hold Balmuccino to the results of its prior

strategic litigation decisions. Balmuccino should therefore be precluded from relitigating the

applicable law. For the same reasons, it should be precluded from relitigating the prior

determination that its claims are time-barred under Washington law.

C.     Balmuccino’s claims are time-barred.

       Even if the Court declined to find this action is precluded by res judicata or collateral

estoppel, and undertook a separate conflict of law analysis, it would reach the same result that all

of Balmuccino’s claims are time-barred.

       1.      Washington’s three-year statute of limitations applies to Balmuccino’s contract
               claims.

       Federal courts sitting in diversity apply the conflict of law rules of the forum state. Cotiviti,

Inc. v. Deagle, 501 F. Supp. 3d 243, 255–56 (S.D.N.Y.2020). Under New York law, the first step

in a conflict-of-law analysis is to determine “whether there is an actual conflict of laws on the

issues presented.” Id. (citation omitted). If an actual conflict exists, courts apply the “center of

gravity” or “grouping of contacts” analysis for contract claims, which looks at the contacts between

the disputed contract and the relevant states.” Id. “Factors to consider in this analysis include ‘the



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place of contracting, negotiation and performance; the location of the subject matter of the

contract; and the domicile of the contracting parties.’” Id. (citation omitted).

        An actual conflict exists between Washington and New York law as to Balmuccino’s

contract claims because New York has a longer statute of limitations for claims based on an oral

or implied contract. Compare Wash. Rev. Code 4.16.080 (three-year statute of limitations for

breach of oral or implied contracts) with CPLR § 213(2) (six-year statute of limitations for breach

of contracts, whether “express or implied”). 6

        Turning to the center of gravity test, the weight of the factors favors application of

Washington law. The first factor—the place of contracting, negotiation and performance—is at

best neutral. While Balmuccino alleges the formation of a contract in New York, the place of

performance was in Washington where Starbucks is based. See Balmuccino, 2023 WL 4761447,

at *6 (“As a Washington-based company, Starbucks’s Washington employees would have

performed the contract or breached the contract in Washington.”). Under New York law, the place

of contracting “may not be controlling as to the choice of law where other considerations

established that the ‘center of gravity’ or ‘the most significant contacts with the matter in dispute’

lie in another place.” Perrin v. Pearlstein, 314 F.2d 863, 867 (2d. Cir. 1963). The second factor—

the location of the subject matter of the contract—favors Washington. Any alleged contract would

concern the creation of coffee-flavored lip balms by Starbucks in Washington. See Balmuccino,

2023 WL 4761447, at *6 (“Because the contract concerned the sale of coffee-flavored lip balms

by Starbucks . . . the location of the contract’s subject matter relate more to Washington.”). Finally,

the third factor—the domicile of the contracting parties—again favors Washington. Starbucks is




6
  To the extent Balmuccino argues California law applies, this argument is precluded by collateral estoppel as
discussed above.


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domiciled in Washington, and no party is domiciled in New York. The vast majority of these

factors therefore support application of Washington law.

       Applying Washington’s three-year statute of limitations, Balmuccino’s contract claims are

time-barred. As the Washington district court previously explained, even under the most generous

reading of the Complaint, the three-year statute of limitations would have lapsed in April 2020. Id.

at *7, n.6. Balmuccino filed this action in August 2024. Dkt. 1. Moreover, the statute of limitations

cannot be equitably tolled. Under Washington law, a “predicate” for equitable tolling is “bad faith,

deception, or false assurances by the defendant” that interfered with timely filing of a plaintiff’s

complaint. Id., at *8 (citing Fowler v. Guerin, 515 P.3d 502, 503 (Wash. Sup. Ct. 2022)).

Balmuccino does not and cannot allege this element is satisfied.

       2.      Balmuccino’s other state law claims are barred under either Washington or New
               York law.

       There is no apparent actual conflict between Washington and New York law as to

Balmuccino’s state law trade secret or breach of confidence claims, and therefore it is not necessary

to undergo a conflict of law analysis. Under both Washington and New York law, these claims

have a three-year statute of limitations. See Wash. Rev. Code 4.16.080(2); RCW 19.108.060;

CPLR §214(4)–(5). Moreover, the statute of limitations cannot be tolled under either state’s law.

       Balmuccino incorrectly asserts in its Complaint that “[l]ike Washington, New York State

recognizes equitable tolling as an exceptional remedy” and “one of those exceptions is when a

party misfiles in the wrong forum . . . .” Compl. ¶ 41. The doctrine of equitable tolling, on which

Balmuccino appears to rely, “is federal in nature and does not apply to claims based solely on New

York law.” Cary Oil Co. v. Mg Refining and Mktg., Inc., 90 F. Supp. 2d 401, 419 (S.D.N.Y. 2000).

Instead, New York “recognizes the related but not identical doctrine of equitable estoppel, which

bars a defendant from pleading the statute of limitations ‘where plaintiff was induced by fraud,



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misrepresentations or deception to refrain from filing a timely action.’” Id. (citation omitted). Thus,

under both Washington and New York law, Balmuccino can toll the applicable statute of

limitations only if it shows Starbucks induced it to file its complaint past the statute of limitations.

As discussed above, Balmuccino cannot make this showing.

   3. Balmuccino’s federal trade secret claim cannot be tolled.

       Finally, Balmuccino cannot toll the three-year statute of limitations for its claim under the

federal DTSA. Balmuccino asserted this claim for the first time on March 9, 2023, when it filed

its first amended complaint in the Western District of Washington. See Diakos Decl. Ex. 1 ¶¶ 45–

50 (California complaint asserting only trade secret claim under California law and seeking

punitive damages under California Civil Code 3294); id. Ex. 11 ¶¶ 59–63. Therefore, Balmuccino

cannot assert filing its action in the incorrect forum as the basis for equitably tolling this claim. As

the Western District of Washington determined, no federal equitable tolling principle applies to

this claim. See Balmuccino, 2023 WL 4761447, at *8, n.7 (“As Balmuccino’s federal claim was

untimely, and federal equitable tolling principles do not extend to ‘garden variety claim[s] of

excusable neglect . . . Balmuccino is not entitled to relief based on the federal equitable tolling

doctrine.”) (quoting Irwin v. Dep’t of Veterans Affairs, 498 U.S. 89, 96 (1990)).

                   D. Balmuccino fails to state a claim.

       If Balmuccino’s Complaint survives the numerous deficiencies discussed above, it must

still be dismissed for failure to state a claim. For the reasons already discussed, Balmuccino fails

to plausibly allege causes of action for breach of contract or breach of confidence. See supra

Section IV.A.2.b. Balmuccino also fails to state a claim for trade secret misappropriation.

       Starbucks assumes that if the Court reaches this failure to state a claim issue, it has

determined New York law applies to Balmuccino’s claims. The Court should therefore dismiss




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Balmuccino’s Count 4 for trade secret misappropriation pursuant to the California Uniform Trade

Secret Act.

       The Court should also dismiss Balmuccino’s New York trade secret claim and DTSA claim

(Counts 5 and 6) because Balmuccino fails to allege either the existence of a trade secret, or that

Starbucks misappropriated Balmuccino’s trade secret. “[T]he elements for a misappropriation

claim under New York law are fundamentally the same as a DTSA claim.” Zabit v. Brandometry,

LLC, 540 F. Supp. 3d 412, 421 (S.D.N.Y. 2021) (quotes omitted). Thus, “[i]n assessing DTSA

claims, courts in this Circuit often look to New York trade secret law.” Id. Under New York law,

“[a] plaintiff claiming misappropriation of a trade secret must prove: (1) it possessed a trade secret,

and (2) defendant is using that trade secret in breach of an agreement, confidence, or duty, or as a

result of discovery by improper means.” Id.

       1.      Balmuccino fails to allege that it possessed a trade secret.

       In assessing whether a plaintiff alleged the possession of a trade secret, New York courts

consider the following factors:

       (1) the extent to which the information is known outside of [the] business; (2) the
       extent to which it is known by employees and others involved in [the] business; (3)
       the extent of measures taken by [the business] to guard the secrecy of the
       information; (4) the value of the information to [the business] and to [its]
       competitors; (5) the amount of effort or money expended by [the business] in
       developing the information; (6) the ease or difficulty with which the information
       could be properly acquired or duplicated by others.

Id. Of these factors, the “most important consideration is whether the information was secret.” Id.

(quotes omitted). “If an individual discloses his trade secret to others who are under no obligation

to protect the confidentiality of the information, or otherwise publicly discloses the secret, his

property right is extinguished.” Id.

       New York courts routinely dismiss trade secret misappropriation claims where a plaintiff

voluntarily discloses its purported trade secret without taking appropriate measures to protect its


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secrecy. See, e.g., id. at 427 (holding plaintiff failed to “meet the threshold of sufficient secrecy”

based on allegations that other individuals had access to purported trade secret “without any

confidentiality agreements, instruction to keep the algorithm secret, or other protective security

measures”); Pauwels v. Deloitte LLP, 2020 WL 818742, at *6 (S.D.N.Y. Feb. 19, 2020) (holding

plaintiff failed to allege existence of trade secret because he failed to allege “the existence of any

formal agreement between him and [defendant] regarding the information’s confidentiality” or

that he took other reasonable measures to protect secrecy of the information disclosed); Jinno,

2013 WL 4780049, at *5 (plaintiff must “allege facts sufficient to show that the information in

fact is secret”). A “request or presumption of confidentiality alone is insufficient to plausibly allege

‘substantial measures’ taken to protect secrecy.” Pauwels, 2020 WL 818742, at *8.

        Balmuccino fails to allege that it took appropriate measures to guard its purported trade

secrets. Balmuccino identifies its purported trade secrets as “a pitch deck, fully realized prototypes,

identification of suppliers and materials, explanation of the results of research and development

efforts, trial and error results, marketing ideas, [and] market data” for its coffee-flavored lip balm

product. Compl. ¶ 70. The Complaint makes no allegations about the measures Balmuccino took

to safeguard these purported trade secrets, including traditional measures like using password

protection, restricting access on a need-to-know basis, or requiring its suppliers to sign non-

disclosure agreements. Significantly, Balmuccino admits that it voluntarily shared its information

with Starbucks after Mr. Gelman declined to sign a non-disclosure agreement. Id. ¶ 16. A secret

garners trade secret protection under the law only if plaintiff “derives independent economic

value” from not being generally known to or ascertainable by others. See 18 U.S.C. § 1839(3)(B)

(defining “trade secret”). Courts interpret this requirement to require factual allegations showing

why the alleged trade secret gives plaintiff “an economic leg up ‘over competitors who do not




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know or use it.’” 24 Seven, LLC v. Martinez, 2021 WL 276654, at *9 (S.D.N.Y. Jan. 26, 2021).

Here, Plaintiff alleges that Starbucks knew that the information it acquired from Plaintiff during

the meeting “had independent economic value, actual or potential, from not being generally known

to, and not being readily ascertainable by proper means by, other persons who could obtain

economic value from its disclosure or use.” (Compl. ¶ 77.) This formulaic recitation of an element

of a trade secret misappropriation claim is insufficient. Inv. Sci., LLC v. Oath Holdings Inc., 2021

WL 3541152, at *2 (S.D.N.Y. Aug. 11, 2021) (granting motion to dismiss for failure to allege

independent economic value). Balmuccino also fails to allege any facts regarding many of the

other trade secret factors considered by New York courts. For example, Balmuccino does not

allege what specific steps Balmuccino took to develop the purported trade secret, the ease or

difficulty with which others could duplicate the information, or the steps (if any) that Balmuccino

took to ensure the secrecy of such information. Accordingly, Balmuccino fails to plead the

existence of a trade secret under New York law.

   2. Balmuccino fails to allege Starbucks misappropriated Balmuccino’s trade secret.

       Balmuccino also fails to allege that Starbucks “us[ed] [Balmuccino’s] trade secret in breach

of an agreement, confidence, or duty, or as a result of discovery by improper means.” Zabit, 540

F. Supp. 3d at 421.

       First, Balmuccino does not plausibly allege that Starbucks “used” Balmuccino’s purported

trade secret. Balmuccino pitched to Starbucks its concept for a coffee-flavored lip balm. Compl. ¶

70. Balmuccino’s trade secret misappropriation claim is based on the launch of “a kit of four liquid

lipsticks/glosses” by Starbucks. Id. ¶ 24 (emphasis added). “[W]here an alleged thief’s products

lack a suspicious similarity to the secrets, the inference [of misappropriation] would not lie.” Big

Vision Private Ltd. v. E.I. Dupont De Nemours & Co., 1 F. Supp. 3d 224, 275 (S.D.N.Y. 2014).




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Balmuccino’s allegations do not plausibly support an inference that Starbucks used Balmuccino’s

purported trade secrets to create the Sip Kit.

       Second, as discussed, Balmuccino does not plausibly allege the existence of an agreement,

confidential relationship, or duty. See supra IV.A.2.b. It therefore does not allege use of the

purported trade secret in breach of such obligations.

       Finally, Balmuccino fails to allege Starbucks discovered Balmuccino’s purported trade

secrets through improper means. Improper means “requires showing that [defendant] acted in bad

faith, which typically is demonstrated by acts such as ‘fraudulent misrepresentation to induce

disclosure, tapping of telephone wires, eavesdropping or other espionage’ – all conduct that ‘fall[s]

below the generally accepted standards of commercial morality and reasonable conduct.’”

Pauwels, 2020 WL 818742, at *9 (quoting Big Vision, 1 F. Supp. 3d at 273). In Pauwels, the court

held the plaintiff failed to allege a defendant received information through improper means when

the complaint alleges another party “voluntarily gave the spreadsheets to [defendant] – as part of

a normal business arrangement.” Id. Like in Pauwels, Balmuccino’s allegations can only support

the conclusion that Balmuccino voluntarily gave its information to Starbucks as part of a normal

business arrangement. These facts cannot support a claim for trade secret misappropriation.

                                   V.            CONCLUSION

       For the forgoing reasons, Starbucks respectfully requests that the Court dismiss

Balmuccino’s Complaint with prejudice.




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Dated: New York, New York              K&L GATES LLP
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